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               Exhibit 8
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      Infringement Claim Chart for U.S. Pat. No. US10237420B1 v. OnePlus (“Defendant”)
      Claim 20                                                 Evidence

20. A method of          The OnePlus customer service platform performs a method of processing requests.
processing requests,
comprising:              For example, the customer service platform performs a method of connecting
                         requests for assistance, made by callers, to agents that provide the assistance.




                         Source: https://service.oneplus.com/us/contact




                         Source: https://service.oneplus.com/us

estimating at least      The OnePlus customer service platform estimates a content-specific or a requestor-
one content-specific     specific characteristic associated with each received request.
or requestor-specific
characteristic           For example, the customer service platform uses information provided by the caller,
associated with each     such as through interactive voice responses, email and chatbots to determine the
received request;        nature of the call.

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 Source: https://oneplus.custhelp.com/app/ask?
 _ga=2.39319779.1552036603.1687505539-359491989.1687505538


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                      Source: https://service.oneplus.com/us

determining           The OnePlus customer service platform determines the availability of multiple
availability of a     alternate target resources, each of which has a target characteristic.
plurality of
alternate target      For example, the customer service platform determines agents that are available to
resources, each       handle the call based, at least in part, on the current availability and skill set of each
respective target     agent.
resource having at
least one
respective target
characteristic;




                      Source: https://service.oneplus.com/us



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                       Source: https://service.oneplus.com/us




                       Source: https://service.oneplus.com/us

evaluating, with at    The OnePlus customer service platform evaluates, with an automated processor,
least                  multiple alternate allocations of the received request with different available targets.
one automated proce    The evaluation is done according to a ranking that is dependent on a probabilistic


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ssor, a plurality of       predictive multivariate evaluator. The evaluator is based on the content-specific or
alternate allocations      requestor-specific characteristic, and the respective target characteristic of the
of the respective          multiple alternate target resources.
received request
with different             For example, the customer service platform uses the nature of the call and the
available targets,         availability and skill set of the agents to determine which possible allocation of the
according to a             call to a given agent will have the best likelihood of a positive outcome for the caller.
ranking dependent
on
a probabilistic predict
ivemultivariate evalu
ator, based on the at
least one content-
specific or requestor-
specific
characteristic, and
the
respective target cha
racteristics of the
plurality of
alternate target reso
urces; and




                           Source: https://service.oneplus.com/us




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                        Source: https://images-eu.ssl-images-amazon.com/images/I/71XtO6s-l8S.pdf

generating              The automated processor of the OnePlus customer service platform generates a
a control signal, by    control signal to control the allocation of the received request with the different
the at least            available targets. Generation of the control signal is selectively dependent on the
one automated proce     evaluation result.
ssor, selectively
dependent on            For example, the customer service platform generates a control signal to connect the
the evaluating,         call with the agent who is most likely to result in a positive outcome for the caller in
to control the          view of other factors such as overall throughput of the customer service platform and
allocations of the      the priority and requirements of other concurrent calls.
respective received
request with the
different
available targets.




                        Source: https://service.oneplus.com/us



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 Source: https://images-eu.ssl-images-amazon.com/images/I/71XtO6s-l8S.pdf




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